                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


  SAMUEL MORGAN,
                                                    Civil Action No. 1:20-cv-08702-PKC
                     Plaintiff,

       v.


   SUNWORKS, INC., CHARLES F.
   CARGILE, DANIEL GROSS, JUDITH
   HALL, RHONE RESCH, and STANLEY
   SPEER,


                     Defendants.


                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff

Samuel Morgan hereby voluntarily dismisses the above-captioned action (the “Action”).

Defendants have filed neither an answer nor a motion for summary judgment in the Action.



Dated: December 15, 2020                                 Respectfully submitted,

                                                         By: /s/ Joshua M. Lifshitz
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